        Case 1:24-md-03115-TWT Document 63 Filed 08/19/24 Page 1 of 7




                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


 In re: Consumer Vehicle Driving Data               CIVIL ACTION FILE
 Tracking Collection                               No. 1:24-MD-3115-TWT



             ORDER APPOINTING PLAINTIFFS’ LEADERSHIP

      This matter is before the Court on motions to create and appoint Plaintiffs’

leadership structure in this Consumer Vehicle Driving Data Tracking Collection

MDL. Having considered the submissions, the Court hereby creates two separate

litigation tracks: one track for the General Motors (“GM”) and OnStar (“OnStar”)

defendants (“OnStar”); and one track for the LexisNexis Risk Solutions Inc.

(“LNRS”) and Verisk Analytics, Inc. (“Verisk”) defendants (“LNRS/Verisk”). In

Case Management Order No. 1 (“CMO No. 1”), this Court set forth the main criteria

it would consider in appointing leadership positions in this matter, including: (1)

willingness and ability to commit to a time-consuming process; (2) ability to work

cooperatively with others; (3) professional experience in this type of litigation; and

(4) access to sufficient resources to advance the litigation in a timely manner. Having

considered all timely submissions in light of the criteria set forth in CMO No. 1, the

Manual for Complex Litigation, and Federal Rule of Civil Procedure 23(g), and
       Case 1:24-md-03115-TWT Document 63 Filed 08/19/24 Page 2 of 7




having considered all applications, the Court hereby appoints the following

leadership:

A.    MDL CO-LEAD COUNSEL TO OVERSEE ALL LITIGATION.

Norman E. Siegel                           John R. Bevis
Stueve Siegel Hanson LLP                   The Barnes Law Group, LLC
460 Nichols Road, Suite 200                31 Atlanta Street
Kansas City, MO 64112                      Marietta, GA 30060

      The MDL Co-Lead Counsel are also hereby designated as Co-Interim Class

Counsel pursuant to Rule 23(g) to “act on behalf of a putative class before

determining whether to certify the action as a class action.” See FED. R. CIV. P.

23(g)(3).

B.    TRACK CO-LEAD COUNSEL FOR ONSTAR AND LNRS/VERISK
      LITIGATION TRACKS.

      1.      OnStar Litigation Track Co-Lead Counsel

Amy E. Keller                              Bryan L. Clobes
DiCello Levitt LLP                         Cafferty Clobes Meriwether &
Ten North Dearborn Street                  Sprengel LLP-IL
Ste Sixth Floor                            135 S. LaSalle, Suite 3210
Chicago, IL 60602                          Chicago, IL 60603

      2.      LNRS/Verisk Litigation Track Co-Lead Counsel

Joseph P. Guglielmo                        Sabita J. Soneji
Scott+Scott Attorneys at Law LLP           Tycko & Zavareei LLP
230 Park Avenue                            The Tower Building
17th Floor                                 1970 Broadway, Suite 1070
New York, NY 10169                         Oakland, CA 94612




                                       2
      Case 1:24-md-03115-TWT Document 63 Filed 08/19/24 Page 3 of 7




C.   PLAINTIFFS’ STEERING COMMITTEE FOR THE ONSTAR AND
     LNRS/VERISK LITIGATION TRACKS.

OnStar Steering Committee                LNRS/Verisk Steering Committee

Kiley Grombacher                         Stuart A. Davidson
Bradley/Grombacher, LLP                  Robbins Geller Rudman & Dowd LLP -
Suite 130                                BR FL
2815 Towngate Road                       225 NE Mizner Boulevard, Suite 720
Westlake Village, CA                     Boca Raton, FL 33432

Emily E. Hughes                          Gayle M. Blatt
The Miller Law Firm, P.C.                Casey Gerry Schenk Francavilla Blatt &
950 West University Drive                Penfield, LLP
Suite 300                                110 Laurel Street
Rochester, MI 48307                      San Diego, CA 92101

Thomas E. Loeser                         Gary S. Graifman
Cotchett Pitre & McCarthy LLP            Kantrowitz, Goldhamer & Graifman, P.C.
999 N. Northlake Way, Suite 215          135 Chesnut Ridge Road, Suite 200
Seattle, WA 98103                        Montvale, NJ 07645

P. Graham Maiden                         Jennifer M. French
Motley Rice LLC                          Lynch Carpenter, LLP
28 Bridgeside Blvd.                      1234 Camino Del Mar
Mount Pleasant, SC 29464                 Del Mar, CA 92014

Adam E. Polk                             Jeffrey M. Ostrow
Girard Sharp LLP                         Kopelowitz Ostrow P.A.
601 California Street, Suite 1400        One West Law Olas Blvd., Suite 500
San Francisco, CA 94108                  Fort Lauderdale, FL 33301

John A. Yanchunis                        Chris Springer
Morgan & Morgan Complex Litigation       Keller Rohrback LLP – CA
Group                                    Suite 301
201 N. Franklin Street, 7th Floor        801 Garden Street
Tampa, Florida 33602                     Santa Barbara, CA 93101




                                     3
        Case 1:24-md-03115-TWT Document 63 Filed 08/19/24 Page 4 of 7




D.    PLAINTIFFS’ LIAISON COUNSEL.

M. Brandon Smith
Childers, Schlueter & Smith, LLC
132 N. Druid Hills Road, Suite 100
Atlanta, GA 30319

E.    DUTIES OF MDL CO-LEAD COUNSEL.

      1.     In consultation with Track Co-Lead Counsel, coordinate, direct, and

manage the litigation activities of all Plaintiffs’ counsel to assure completion of

Plaintiffs’ pretrial preparation is conducted effectively, efficiently, and

economically, that schedules are met, and that unnecessary expenditures of time and

expenses are avoided;

      2.     Facilitate, coordinate, direct and manage the activities of Track Co-

Lead Counsel and Plaintiffs’ Steering Committees for the litigation tracks consistent

with the directives of this Court;

      3.     Consult with and employ consultants or experts as necessary;

      4.     Coordinate with Track Co-Lead Counsel and the Plaintiffs’ Steering

Committees for the litigation tracks in all aspects of the litigation to fund the

necessary and appropriate costs of discovery and other common benefit efforts,

including the maintenance of a Plaintiffs’ document depository, see Manual for

Complex Litigation, Fourth § 40.261;

      5.     Coordinate settlement discussions or other dispute resolution efforts on

behalf of the Plaintiffs, under the Court’s supervision, if and as appropriate;
                                          4
        Case 1:24-md-03115-TWT Document 63 Filed 08/19/24 Page 5 of 7




       6.     Enter into stipulations with other parties as necessary for the conduct

of the litigation;

       7.     Prepare and distribute to the parties periodic status reports;

       8.     Maintain adequate time and disbursement records covering services as

appointed counsel;

       9.     Submit to the Court and circulate to Plaintiffs’ Counsel a time and

expense reporting protocol consistent with this Order governing the submission and

potential compensation of time and expenses generated in this matter;

       10.    Perform such other duties as may be incidental to proper coordination

with Track Co-Lead Counsel and the Plaintiffs’ Steering Committees for the

litigation tracks’ pretrial activities or as otherwise directed by further Order of the

Court; and

       11.    Periodically communicate with the Court and non-leadership counsel

as necessary or required to meet the demands of litigation.

F.     DUTIES OF TRACK CO-LEAD COUNSEL.

       1.     Consult with Plaintiffs’ MDL Co-Lead Counsel and perform those

duties and responsibilities as directed by MDL Co-Lead Counsel; and

       2.     In consultation with Plaintiffs’ MDL Co-Lead Counsel, direct the

activities of the Plaintiffs’ Steering Committees for the litigation tracts and ensure

that such work is done as efficiently as possible.


                                           5
          Case 1:24-md-03115-TWT Document 63 Filed 08/19/24 Page 6 of 7




G.    DUTIES OF PLAINTIFFS’ STEERING COMMITTEES FOR THE
      LITIGATION TRACKS.

      Perform such work as directed by Plaintiffs’ MDL Co-Lead Counsel and

Track Co-Lead Counsel.

H.    DUTIES OF PLAINTIFFS’ LIAISON COUNSEL.

     1.       In consultation with MDL Co-Lead Counsel, communicate with the

Court concerning scheduling and other administrative matters; and

      2.      Maintain an up-to-date, comprehensive Service List and promptly

advise the Court and Defendants’ counsel of changes to Plaintiffs’ Service List.

I.    OTHER RESPONSIBILITIES OF ALL PLAINTIFFS’ COUNSEL.

      1.      All counsel must keep a daily record of their time spent and expenses

incurred in connection with this litigation, and must report on a monthly basis their

expenses and hours worked to MDL Co-Lead Counsel according to the time and

expense protocol annexed to this Order as Exhibit A-1.

      2.      In order for time and expenses to be compensable, those not serving in

leadership positions must secure the express authorization of MDL Co-Lead Counsel

for any projects or work undertaken in this litigation.

      3.      At least on a quarterly basis, beginning on October 31, 2024, and

thereafter on the last business day of each January, April, and July, MDL Co-Lead

Counsel shall submit to the Court in camera reports reflecting hours billed in this

                                          6
       Case 1:24-md-03115-TWT Document 63 Filed 08/19/24 Page 7 of 7




matter by all Plaintiffs’ counsel. Failure to maintain records with sufficient

descriptions of the time spent and expenses incurred may be grounds for denying

attorneys’ fees and/or expenses, for the period that relates to the missing or

inadequate submissions.


                       19th day of August 2024.
      SO ORDERED, this _____


                                    _________________________________
                                    THOMAS W. THRASH, JR.
                                    United States District Judge
                                    Northern District of Georgia
                                    Atlanta Division




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